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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1253V
                                          UNPUBLISHED


    KIM BANKOWSKI,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: October 21, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

       On August 22, 2019, Kim Bankowski filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following an influenza (“flu”) vaccine on November 2, 2017.
Petition at ¶1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

      On February 2, 2021, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for a Table SIRVA. On October 20, 2021, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $95,707.08,
representing $92,500.00 as compensation for pain and suffering and $3,207.08 as
compensation for actual past unreimbursed expenses. Proffer at 1-2. In the Proffer,

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $95,707.08 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

*************************************
KIM BANKOWSKI,                      *
                                    *
                  Petitioner,       *                         No. 19-1253V
                                    *                         Chief Special Master Corcoran
v.                                  *
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On February 1, 2021, respondent filed a Rule 4(c) Report, conceding that petitioner’s

claim meets the Table criteria for a SIRVA injury. On February 2, 2021, the Court issued a

Ruling on Entitlement finding petitioner entitled to compensation under the Vaccine Act.

I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be awarded

the following, and requests that the Chief Special Master’s decision and the Court’s judgment

award:

            a. a lump sum payment of $92,500.00, which represents compensation for pain and
               suffering, see 42 U.S.C. § 300aa-15(a)(4), and

            b. a lump sum payment of $3,207.08, which represents compensation for past
               unreimbursed medical expenses, see 42 U.S.C. § 300aa-15(a)(1).

         These amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a).1 Petitioner agrees.



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  Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future pain
and suffering.
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that petitioner be awarded a lump sum payment of $95,707.08, in the

form of a check payable to petitioner. Petitioner agrees.

                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     HEATHER L. PEARLMAN
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                                                     Torts Branch, Civil Division

                                                     LARA A. ENGLUND
                                                     Assistant Director
                                                     Torts Branch, Civil Division

                                                     s/ DEBRA A. FILTEAU BEGLEY
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Dated: October 20, 2021                              Debra.Begley@usdoj.gov




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